             IN THE COURT OF CRIMINAL APPEALS
                         OF TEXAS
                                         NO. WR-80,324-02


                        EX PARTE OSCAR DAVID PARDO, Applicant


              ON APPLICATION FOR A WRIT OF HABEAS CORPUS
          CAUSE NO. NO. 2011-CR-5260-W2 IN THE 379TH DISTRICT COURT
                            FROM BEXAR COUNTY


        Per curiam. YEARY , J., not participating.

                                              ORDER

        Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte

Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of injury to a child

and sentenced to forty years’ imprisonment. The Fourth Court of Appeals affirmed his conviction.

Pardo v. State, No. 04-13-00530-CR (Tex. App.—San Antonio Dec. 17, 2014) (not designated for

publication).

        In his writ, Applicant raised ineffective assistance of counsel, jury charge error, and no

evidence. The trial court entered findings rejecting his claims. Applicant then filed a motion to

remand the case so he could avail himself of appointed habeas counsel’s assistance. Applicant
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attached correspondence from a lawyer who said he was appointed, but withdrew due to a conflict.

Counsel told Applicant that a different lawyer was appointed on April 25, 2016, and that another

lawyer was appointed as of July 5, 2016. Applicant attached a purported order appointing habeas

counsel on that date. However, the record contains no filings from counsel and the findings and

conclusions were served on Applicant, not habeas counsel.

       The trial court shall make supplemental findings of fact and conclusions of law as to whether

Applicant was, in fact, appointed habeas counsel and, if so, whether habeas counsel wishes to take

any action on the case. The trial court may also make any other supplemental findings of fact and

conclusions of law that it deems relevant and appropriate to the disposition of Applicant’s claims

for habeas corpus relief.

       This application will be held in abeyance until the trial court has resolved the issues. The

issues shall be resolved within 90 days of this order. A supplemental transcript containing all

affidavits and interrogatories or the transcription of the court reporter’s notes from any hearing or

deposition, along with the trial court’s supplemental findings of fact and conclusions of law, shall

be forwarded to this Court within 120 days of the date of this order. Any extensions of time must

be requested by the trial court and shall be obtained from this Court.

Filed: November 16, 2016
Do not publish
